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13                                   UNITED STATES DISTRICT COURT

14                  NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION

15 CALIFORNIA COALITION FOR WOMEN                                Case No. 3:23-cv-04155
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16   A.S.; and L.T., individuals on behalf of themselves         [PROPOSED] ORDER GRANTING
     and all others similarly situated,                          PLAINTIFFS’ MOTION FOR
17                                                               CLASS CERTIFICATION
                     Plaintiffs,
18           v.
     UNITED STATES OF AMERICA FEDERAL
19   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR COLETTE
20   PETERS, in her official capacity; FCI DUBLIN
     WARDEN THAHESHA JUSINO, in her official
21   capacity; OFFICER BELLHOUSE, in his individual
     capacity; OFFICER GACAD, in his individual
22   capacity; OFFICER JONES, in his individual
     capacity; LIEUTENANT JONES, in her individual
23   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
24   capacity, OFFICER POOL, in his individual capacity,
     LIEUTENANT PUTNAM, in his individual capacity;
25   OFFICER SERRANO, in his individual capacity;
     OFFICER SHIRLEY, in his individual capacity;
26   OFFICER SMITH, in his individual capacity; and
     OFFICER VASQUEZ, in her individual capacity,
27
                     Defendants.
28

     [4340263.1]                                                             Case No. 3:23-cv-04155
                   [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION
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 1                 Plaintiffs’ Motion for Class Certification came on for hearing before this Court on
 2 October 6, 2023 at 9:30 am. The Court, having considered the parties’ pleadings, the
 3 arguments of counsel, and the entire record in this case, and good cause existing therefor,
 4 GRANTS Plaintiffs’ motions and makes the following findings and orders.
 5                 1.    Plaintiffs have moved to provisionally certify a class of “all people who are
 6 now, or will be in the future, incarcerated at FCI Dublin and subject to FCI Dublin’s
 7 uniform policies, customs, and practices concerning sexual assault, including those
 8 policies, customs, and practices related to care in the aftermath of an assault and protection
 9 from retaliation for reporting an assault” for purposes of issuing the concurrently filed
10 request for a preliminary injunction.
11                 2.    Plaintiffs have also moved to certify the class of “all people who are now, or
12 will be in the future, incarcerated at FCI Dublin and subject to FCI Dublin’s uniform
13 policies, customs, and practices concerning sexual assault, including those policies,
14 customs, and practices related to care in the aftermath of an assault and protection from
15 retaliation for reporting an assault” under Federal Rules of Civil Procedure 23(a) and
16 23(b)(2) as to each of Plaintiffs’ causes of action.
17                 3.    The Court finds that the class numerous that joinder of all members is
18 impracticable. The Class consists of more 600 current and an unascertainable number of
19 future individuals. Fed. R. Civ. P. 23(a)(1).
20                 4.    There are questions of law and fact common to the Class and the Subclass.
21 Fed. R. Civ. P. 23(a)(2). For purposes of preliminary relief, questions of law and fact
22 common to the Class include: (1) Whether Defendants’ policies and practices place
23 members of the class at a substantial risk of harm because they permit sexual assault to
24 occur, provide ineffective reporting mechanisms, fail to impose accountability, and
25 facilitate retaliation; (2) Whether Defendants, who have known about staff sexual abuse
26 and harmful conditions at FCI Dublin for years, have been deliberately indifferent to that
27 risk; (3) Whether Defendants have abdicated their oversight obligations to ensure adequate
28 medical and mental health responses have been taken to mitigate the risk of harm to the

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 1 class; and (4) Whether, as part of their denial of effective reporting mechanisms,
 2 Defendants’ denial of access to counsel violates the constitutional rights of the class. Any
 3 one of these common issues, standing alone, is enough to satisfy Rule 23(a)(2)’s
 4 permissive standard. See Abdullah v. U.S. Sec. Assocs., 731 F.3d 952, 957 (9th Cir. 2013).
 5 Thus, the proposed class clearly meets the commonality requirement of Rule 23(a)(1).
 6                 5.   The proposed class representatives have claims sufficiently typical of the
 7 class and subclass they seek to represent. Fed. R. Civ. P. 23(a)(3). The claims and
 8 defenses of CCWP, R.B, A.H.R., S.L., J.L, J.M, G.M, A.S, and L.T. (collectively “the
 9 putative class representatives”) are typical of the claims and defenses of the Class. All of
10 the putative class representatives either have been or currently are incarcerated at FCI
11 Dublin. They suffer the same injuries as the Class under the United States Constitution
12 because Defendants expose the putative class representatives and the Class to the same
13 substantial risk of serious harm.
14                 6.   The class representatives will fairly and adequately protect the interests of
15 the class. Fed. R. Civ. P. 23(a)(4). The class representatives, who seek only preliminary
16 injunctive relief at this stage, have no conflict with the class and subclass they seek to
17 represent. The class representatives are knowledgeable and involved in the lawsuit.
18                 7.   Defendants have acted and refused to act on grounds that apply generally to
19 the Class and Subclass, so that preliminary injunctive relief is appropriate respecting the
20 Class and the Subclass as wholes. Fed. R. Civ. P. 23(b)(2).
21                 8.   Plaintiffs’ Motion is GRANTED. The Court appoints the putative class
22 representatives as provisional class representatives for the Class.
23                 9.   The Court appoints Plaintiffs’ counsel—Michael Bien, Ernest Galvan, Kara
24 Janssen and Ginger Jackson-Gleich of Rosen Bien Galvan & Grunfeld LLP, Susan Beatty
25 of California Collaborative for Immigrant Justice, and Oren Nimni, Amaris Montes, and D
26 Dangaran or Rights Behind Bars—as class counsel. Fed. R. Civ. P. 23(g)(1) and (4).
27 Plaintiffs’ counsel have already devoted significant resources to identifying and
28 investigating potential claims in the action; have significant experience handling class

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 1 actions, other complex litigation, and the types of civil rights claims asserted in this action;
 2 have substantial knowledge of the applicable federal laws; will commit significant
 3 resources to the continued prosecution of this action; and will fairly and adequately
 4 represent the interests of the class and subclass.
 5                 IT IS SO ORDERED.
 6
 7 DATED: ____________, 2023
                                                United States District Judge
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     [4340263.1]                               4                        Case No. 3:23-cv-04155
        [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PROVISIONAL CLASS CERTIFICATION
